
Judge Brooke.
The judgment ought to be reversed ow'both grounds taken by the counsel for the appellant.
In the first place, the suit being on a joint bond dated in 1783, the declaration was defective in not setting forth what had become of the other obligor. Instead of averring he was dead, it rather showed, on its face, that he was still alive.
In the second place, Elizabeth Braxton’s testimony should have been admitted. The verdict does not show clearly how she could be considered as interested. If she had any interest at all, it was in favour of the party who objected to her evidence.
Judges Roane and Fleming concurred onboth points, which (the former observed) had been well settled in this court.
Judgment reversed, and lf this court proceeding, &amp;c. is of opinion that the law arising upon the special verdict is for the appellant; therefore, it is further consh- • fjered that the appellee take nothing,” &amp;c.
